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                      Exhibit
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                                                                         1180 N. Town Center Drive, Ste. 100
                                                                                      Las Vegas, NV 89144



                                                                                             Ryan Gile, Esq.
INTELLECTUAL PROPERTY • BUSINESS LITIGATION                                           Direct: (702) 703-7288
Licensed in Nevada, California, and the District of Columbia                   E-mail: rg@gilelawgroup.com

                                             October 25, 2021
                             VIA E-MAIL ONLY (mcavanagh@mcdonaldhopkins.com)

   Matthew Cavanagh, Esq.
   McDonald Hopkins LLC
   600 Superior Avenue East, Suite 2100
   Cleveland, OH 44114

            Re:      Spectrum Laboratories LLC’s Synthetic Urine Patents
                     Our Reference No.: AIMHIGH.0022L

  Dear Mr. Cavanaugh,

          This letter is in response to your latest correspondence dated October 11, 2021, written on behalf
  of your client, Spectrum Laboratories, LLC (“Spectrum”), and which follows up on our prior
  correspondence exchange with respect to the laboratory-made urine product named XStream marketed and
  sold by Aim High Investment Group, LLC (“Aim High”) and Spectrum’s claims that the product infringes
  on Spectrum’s patent rights.

         As we have said multiple times in the past, based on our client’s knowledge of the proprietary
  product formula and the chemicals/ingredients that go into the XStream product, our client remains quite
  confident that the XStream product does not infringe upon Spectrum’s patents.

          After our prior correspondence earlier this year and based on your client’s continuing claims of
  infringement and the lab reports you previously provided, our client obtained its own lab test of the XStream
  product in order to verify what it already knew to be true, namely that no biocide preservatives are present.
  A copy of that report (conducted by Micro Quality Labs, Inc.) is attached hereto. As you can see for
  yourself, this lab conducted a test for the same biocide that your lab purportedly detected (i.e., MIT -
  methylisothiazolinone) and found that MIT was not detected.

           Spectrum’s two patents – U.S. Patent No. 7,192,776 and U.S. Patent No. 9,128,105 – center around
  the introduction of specific biocides into a synthetic urine mixture to remove or control the presence of
  bacteria in the mixture in order to preserve the shelf life of the synthetic urine product. Thus, the
  introduction and presence of any particular biocide chemical must be at such sufficient levels where the
  biocide can serve the bacteria-removing functionality described in the patent. Furthermore, if an HPLC lab
  test like the one performed by Micro Quality Labs is not able to detect the presence of MIT, then it is
  indisputable that the XStream product does not have sufficient levels of such biocide to act as a preservative
  as expressly claimed by the patent.

           For these reasons, Aim High maintains its position that the XStream product does not infringe
  Spectrum’s patents and will not be providing any of the information requested in your letter, all of which
  is otherwise based on your mistaken assumption that such infringement exists, and will vigorously defend
  its position in court should Spectrum pursue any lawsuit for patent infringement.

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Matthew Cavanagh, Esq.
McDonald Hopkins LLC
October 25, 2021


         Finally, should Spectrum choose to proceed with filing a lawsuit in the face of clear evidence
disputing the evidentiary basis for such action, then Spectrum clearly would be pursuing such claims in bad
faith and for an improper purpose, which would undoubtedly constitute an “exceptional” case pursuant to
35 U.S.C. §285 as well as sanctionable under Rule 11 and 28 U.S.C. §1927. Should Spectrum and its
counsel pursue such action nonetheless, then Aim High fully intends to seek all attorney’s fees and costs
incurred in connection with fighting Spectrum’s bad faith objectively baseless patent infringement claims,
including holding those of Spectrum’s principals or officers who are directly involved in these baseless,
bad faith claims of patent infringement personally responsible for such fees and costs, along with seeking
any appropriate sanctions against legal counsel for even bringing and maintaining such action. Aim High
also reserves the right to attack the highly questionable validity of Spectrum’s patents should this matter
find its way into court.

        Once again (and hopefully for the final time), our client considers this matter closed.

        Nothing contained in or omitted from this letter is or shall be deemed to be either a full statement
of the facts or applicable law, an admission of any fact, or a waiver or limitation of any of our client’s
rights or remedies, equitable or otherwise, all of which are specifically retained and reserved.

                                                        Very truly yours,



                                                        Ryan Gile

Encl.




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                                           Micro Quality Labs, Inc.
                             Specializing in Pharmaceutical, Dietary Supplements,Toys and Cosmetics Testing
                                               3125 N. Damon Way* Burbank, California 91505
                                                  (818)845-0070•Fax:(818)845-0030
                                                 E-Mail: Karine@MicroQualitvLabs.com


      Customer:             High Voltage
      Address;              4980 Statz Street Unit# 120
                            North Las Vegas, NV 89081


                                      ANALYTICAL/CHEMICAL CERTIFICATE OF ANALYSIS


      Sample Name: XSTREAM LIQUID NOVELTY
      Product Code: 1020292B
      Batch/Lot: 30Z
       MQL Accession: 210202-0104


      PC#: N/A
      Sample Description: FG
      Rush: N/A
      Received Date:02/02/21

         Test Requested:                    Test Method:                    Specification:                 Results:
         CMIT/MIT                            MQLTM-0456                     Not Detected                   Not Detected
                                            ByHPLC                      1




      Prepared By:
                                                                            FEB 2 0 2021
       Annie Paris/Document Control Specialist                                    02/20/21



      Reviewed By:                                                           FEB 2 0 2021
       EsTn^lda Arellano/QA Reviewer                                              02/20/21


      The aforementioned results on this report are representative of the samples submitted and may not be indicative of the entire
      manufacture, batch, and/or lot. Applicable current CMP's shall always be used when sampling. GLP's shall always be practiced by Micro
      Quality Labs to ensure the most accurate results.


      This report is submitted for the exciusive use of the person, partnership, or corporation to whom it is addressed, and neither the
      report nor the name of Micro Quality Labs, Inc. nor any member ofits staff, maybe used in connection with the advertising or sale
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      action by Micro Quality Labs, inc.




      Form# 03B.4 Analytical / Chemical Certificate of Analysis, Revised 07-05-2016 DCR2016-0063
